            Case 3:19-cr-00143-JWD-RLB                        Document 145-1           01/16/23 Page 1 of 5

                                                          INCENDIARY FIRES                                                            921-259



24.3.5 Entry Blocked or Obstructed.                                     24.3.6.3.1 Sabotage to fire protection systems or components
                                                                        can delay notification to occupants and the fire department
24.3.5.1 The entrance to a structure or to the property may be          and can prevent the control or extinguishment of the fire.
blocked or obstructed to hamper fire fighters from extinguish-          Such sabotage is intended to allow the fire to develop fully and
ing the fire. Obstructions to the property may include fallen           to create greater destruction.
trees, street barricades, or construction features that deny fire
vehicle access, such as masonry columns, fences, and gates.             24.3.6.3.2 Sabotage can include removing or covering smoke
                                                                        detectors; obstructing sprinklers; shutting off control valves;
24.3.5.2 Obstructions to the structure may include what                 damaging threads on standpipes, hose connections, or fire
appear to be "security" measures, such as boarded up windows            hydrants; and obstructing or placing debris in fire department
and doors, "security grilles," and chains and locks.                    Siamese connections or fire hydrants.
24.3.6 Sabotage to the Structure or Fire Protection Systems.            24.3.6.3.3 Another type of sabotage, although more subtle, is
24.3.6.1 Introduction. Sabotage refers to intentional damage            igniting multiple fires (see 24.2.1). In addition to increased
or destruction to the physical structure of the building, or            destruction from additional fires, multiple fires can have the
intentional damage to a fire protection system or system                effect of overtaxing the fire suppression system beyond its
components.                                                             design capabilities. Assistance may be needed to determine the
                                                                        design limitations on the fire protection system. (See
24.3.6.1.1 A firesetter is often intent on developing conditions        Section 15.5.)
that will lead to the rapid and complete destruction of the
building or its contents. In order to fulfill this goal, the fireset-   24.3.7 Open Windows and Exterior Doors. Open windows
ter may sabotage the structure (fire-resistive assembly) or the         and exterior doors can speed the growth and spread of a fire.
fire protection systems.                                                When these conditions exist during cold weather or in viola-
                                                                        tion of normal building security, it may be an indicator that
24.3.6.1.2 Investigators should determine whether the failure           someone attempted to provide extra ventilation for the fire.
of structural components or fire protection systems was the             Windows may have been broken out for the same purpose.
result of deliberate sabotage or other factors, such as improper
construction, lack of maintenance, systems shutdown for main-           24.4 Other Evidentiary Factors.
tenance, improper design, or equipment or structural assembly           24.4.1 Once the investigator has completed the fire scene
failure.                                                                examination and has concluded that the fire was incendiary,
24.3.6.2 Damage to Fire-Resistive Assemblies. Fire-resistive            there are other evidentiary factors that should be recorded and
design, accomplished through the construction of various fire           examined, which may be critical regarding future suspect
resistance—rated assemblies (e.g., walls, ceilings, and floors)         development and identification.
and the proper protection of openings (e.g., fire doors,                24.4.1.1 These evidentiary factors regarding the identification
windows and shutters, and fire dampers), is intended to sepa-           of a suspected firesetter, or the "motive" or opportunity for the
rate portions of a structure into "compartments" or "fire areas"        fire, cannot be substituted for a properly conducted investiga-
that confine a fire within the "compartment" in which the fire          tion and determination of the fire's origin and cause.
originated, preventing smoke and fire movement to other
portions of the building.                                               24.4.1.2 In the absence of physical evidence of an incendiary
                                                                        fire, the investigator is strongly cautioned against using the
24.3.6.2.1 Penetrations in fire-resistant assemblies may be an          discovery or presence of these other evidentiary factors in
indication that the firesetter attempted to spread the fire from        developing a hypothesis, forming opinions, or drawing conclu-
one area to another. The investigator should try to determine           sions concerning the cause of the fire.
whether the penetrations occurred with the intent of spreading
the fire. Penetrations of fire resistance—rated construction may        24.4.2 Analysis of Confirmed Incendiary Fires. It is through
be the result of poor initial construction, renovations, service        the analysis of confirmed incendiary fires that trends or
wiring, or cables, or may be the result of fire-fighting activities,    patterns in repetitive firesetting behaviors may be detected.
such as ventilation or overhaul.                                        The key to this analysis is whether the firesetting is repetitive or
                                                                        not. This analysis may assist the investigator in the development
24.3.6.2.2 Open doors are the most common method of fire                and identification of possible suspects. Repetitive firesetting,
travel through a structure. Sabotage to fire or smoke doors             sometimes called serialfire setting or serial arson, refers to a series
(e.g., wedging doors open) or fire shutters can increase fire           of three or more (incendiary) fires, where the ignition is attrib-
and smoke spread throughout the structure. Sabotage to stair-           uted to the individual or a group acting together. There are
way doors can further increase rapid smoke and fire spread.             three principal trends that may be identified through analysis:
However, frequently these doors are held or propped open by             geographic areas, or "clusters"; temporal frequency; and mate-
building occupants to improve ventilation or access during              rials and methods.
regular building operations. The investigator should determine
whether the doors and other opening protection were inten-              24.4.2.1* Geographic Areas, or Clusters. Repetitive fireset-
tionally opened by the firesetter or were open as a normal              ting activities tend to group within the same geographic loca-
operational use of the building.                                        tion (i.e., same neighborhood), or cluster. Locating incendiary
                                                                        fires by utilizing computer-assisted pattern recognition systems,
24.3.6.3 Damage to Fire Protection Systems. Fire protection             such as the Arson Information Management System (AIMS) or
systems include heat, smoke, or flame detection; alarm and              by looking at a map of the local area, can assist the investigator
signaling systems; sprinkler and standpipe systems; special             in identifying clusters.
extinguishing systems, such as those using carbon dioxide,
foam, or halon; and private water mains and fire hydrants.



                                                                                                                                   2017 Edition
          Case 3:19-cr-00143-JWD-RLB                      Document 145-1          01/16/23 Page 2 of 5
921-260                                               FIRE AND EXPLOSION INVESTIGATIONS



24.4.2.2 Temporal Frequency. Incendiary fires set by the same          24.4.6 Owner with Fires at Other Properties. If a structure is
individual often occur during the same time period of the day          owned by persons who have had incendiary fires at other prop-
or on the same day of the week. This occurrence may have               erties, especially if they have collected insurance as a result of
several reasons, including the level of activity in the area, the      those fires, there is a possibility they will experience another
firesetter's assessment of his or her chances of success, or the       incendiary fire.
firesetter's routine. For example, the firesetter may pass the
location (to or from work or to or from a bar) during a certain        24.4.7 Overinsurance. Another indicator closely related to
period of the day or on a certain day of the week.                     financial stress is overinsurance. Overinsurance is a condition
                                                                       whereby the insurance coverage is greater than the value of the
24.4.2.3 Materials and Method. The method and material                 property in a valued policy state or whereby there are multiple
used in the ignition of incendiary fires vary according to the         insurance policies on the property.
firesetter. Generally, however, once a firesetter begins repetitive
firesetting behavior, the materials and method tend to remain          24.4.8 Timed Opportunity. Timed opportunity refers to the
similar, as do the locations of the incendiary fires.                  indicators that a firesetter has timed the fire to coincide with
                                                                       conditions or circumstances that assist the chances of successful
24.4.3 Evidence of Other Crimes, Crime Concealment.                    destruction of the target (property) or to utilize those condi-
                                                                       tions or circumstances to increase the chances of not being
24.4.3.1 An incendiary fire may be an attempt to conceal               apprehended.
other crimes, such as homicides and burglaries. In other cases,
a staged burglary may occur to disguise an incendiary fire. The        24.4.8.1 Fires During Severe Natural Conditions. Fires during
issue of which occurred first, the other crime or the fire, is         periods of extreme natural conditions such as floods, snow-
more related to the motive for the fire and has little to do with      storms, hurricanes, or earthquakes may delay fire department
the cause of the fire.                                                 response or hinder fire-fighting capabilities. Other natural
                                                                       conditions to note are electrical storms, periods of high winds,
24.4.3.2 Although possible motives do not determine a fire's           low humidity, and freezing or extremely high temperatures.
cause (i.e., if the motive was to burglarize the structure and to
conceal the burglary with a fire, or to set a fire but make it         24.4.8.2 Fires During Civil Unrest. This is a type of opportun-
appear as a burglary), motives may lead the investigator to            istic fire. Other indicators, such as financial stress, often accom-
approach the investigation (i.e., the search for evidence) and         pany this indicator.
possible suspects differently.
                                                                       24.4.8.2.1 Also, incendiary fires during civil unrest usually do
24.4.4 Indications of Financial Stress. The investigation may          not involve elaborate ignition devices or materials, although
reveal indicators of financial stress. These indicators may            "fire bombs" or liquid accelerants are sometimes used. More
include the following: liens, attachments, unpaid taxes, mort-         often, available materials are utilized as an initial fuel.
gage payments in arrears, real estate for sale (inability to sell,
property is nonmarketable, etc.), poor business location, or           24.4.8.2.2 A similar pattern may develop when repetitive fires or
new competition.                                                       a series of incendiary fires occur in the same geographic area
                                                                       (see 24.4.2.1). The owners or occupants may attempt to set a fire
24.4.4.1 Financial stress may also be indicated by factors asso-       and have the cause attributed to another firesetter. In these
ciated with the use or type of occupancy of the building. For          instances, the investigator may discover a difference in the
business occupancies, indicators may include periods of                method (such as time of day, days of the week, location of the
economic decline, particularly within that industry; changes           fire), the materials (such as different fuels) used, or ignition
within an industry, in either product or equipment; obsoles-           source that does not fit the established firesetting pattern. (See
cence of equipment; and new competition within the industry.           24.4.2.)
Other indicators can include factors such as the need to relo-
cate or new competition in the same geographic region or               24.4.8.3 Fire Department Unavailable. Fires may be set at
area.                                                                  times when the fire department is unavailable. Examples
                                                                       include deliberately calling in a false alarm to get the fire
24.4.4.2 Examples of financial stress for residential properties       department away from the area or starting the fire while there
can include landlords who cannot collect rent or who cannot            is a working fire in progress or when the fire department is
rent out vacant units, rent control, the owner's need to relo-         involved in a parade or other community function.
cate, and mass loss of jobs within the region resulting from
industrial cutbacks or closings.                                       24.4.9* Motives for Firesetting Behavior.

24.4.5 Fxisting or History of Code Violations.                         24.4.9.1 General. Motive indicators should not be included or
                                                                       substituted as analytical elements of the fire scene for the
24.4.5.1 Closely related to, and possibly another indication of        purpose of determining or classifying the fire cause. The
financial stress, is the existence of or a history of building, fire   proper use of motive indicators in the fire investigation process
safety, housing, or maintenance code violations. This may indi-        is in identifying potential suspects only after the fire origin and
cate either the financial inability to maintain the building or        cause have been determined and the fire has been classified as
the intentional choice to let the building deteriorate (refusal to     incendiary.
reinvest in the structure).
                                                                       24.4.9.1.1 Motive is defined as an inner drive or impulse that is
24.4.5.2 Where the deterioration of a building is intentional,         the cause, reason, or incentive that induces or prompts a
other indicators related to financial stress, such as overinsur-       specific behavior. The identification of an offender's motive is a
ance or the inability to sell the property, may be discovered          key element in crime analysis. Crime analysis is a method of
during the investigation.                                              identifying personality traits and characteristics exhibited by an
                                                                       unknown offender. It is the identification and analysis of the
                                                                       personality traits that eventually lead to the classification of a


2017 Edition
                  Case 3:19-cr-00143-JWD-RLB                        Document 145-1           01/16/23 Page 3 of 5
                                                          INCENDIARY FIRES                                                              921-261



motive. Once a possible motive is identified, the investigator          24.4.9.3.1.3 The National Center for the Analysis of Violent
can begin to evaluate potential suspects for the incendiary fire.       Crime (NCAVC) has identified the six motive classifications as
                                                                        the most effective in identifying offender characteristics for
24.4.9.1.2 Behaviors related to the classifications of motive
                                                                        firesetting behavior, as follows:
may not be exclusive to one motive classification but may
appear to overlap categories and to be similar for different            (1)   Vandalism
motives. In these instances, it is important to obtain additional       (2)   Excitement
information that may clarify the behaviors.                             (3)   Revenge
                                                                        (4)   Crime concealment
24.4.9.1.3 In addition to the identification of a motive, other         (5)   Profit
analyses should be considered that might assist in determining          (6)   Extremism
if a serial firesetter exists. Through the analysis of confirmed
incendiary fires, trends or patterns in repetitive firesetting          24.4.9.3.2 Vandalism.     Vandalism-motivated firesetting is
behaviors may be detected. The three principal trends that may          defined as mischievous or malicious firesetting that results in
be identified are geographic clustering, temporal frequency,            damage to property. Common targets include educational
and methods and materials. (See 24.4.1.)                                facilities and abandoned structures, but also include trash fires
                                                                        and grass fires. Vandalism firesetting categories include willful
24.4.9.2 Motive Versus Intent. There is an important distinc-           and malicious mischief and peer or group pressure.
tion to be made between motive and intent. Intent refers to the
purposefulness or deliberateness of the person's actions or, in         24.4.9.3.2.1 Willful and Malicious Mischief. These are incen-
some instances, omissions. It also refers to the state of mind          diary fires that have no apparent motive or those that seem-
that exists at the time the person acts or fails to act. Intent is      ingly are set at random and have no identifiable purpose.
generally necessary to show proof of crime. The showing of              These are fires that are often attributed to juveniles or adoles-
intent generally means that some substantive steps have been            cents.
taken in perpetuating the act. Motive is the reason that an indi-
                                                                        24.4.9.3.2.2 Peer or Group Pressure. Recognition or pressure
vidual or group may do something. It refers to what causes or
                                                                        from peers is sometimes regarded as a reason for firesetting,
moves a person to act or not to act and the stimulus that causes
                                                                        particularly among juveniles.
action or inaction. Motive is generally not a required element
of a crime. For example, a person with indications of "financial        24.4.9.3.3* Excitement. The excitement-motivated firesetter
difficulty" could experience a fire to his insured property that is     may enjoy the excitement that is provided by actual firesetting
ignited by his falling asleep with a lit cigarette. While this          or the activities surrounding the fire suppression efforts, or
person may have motive to cause a fire, that person did not             may have a psychological need for attention. The excitement-
intend to have a fire. Thus, no element of intent existed.              motivated offender is often a serial firesetter. This firesetter will
                                                                        generally remain at the scene during the fire and will often get
24.4.9.3* Classifications of Motive.
                                                                        in position to respond to, or view the fire and the surrounding
24.4.9.3.1 Introduction. The classifications discussed in this          activities. The excitement-motivated firesetter's targets range
chapter are those identified in Douglas et al., Crime Classifica-       from small trash and grass fires to occupied buildings.
tion Manual (CCM). The CCM uses a diagnostic system inten-
                                                                        24.4.9.3.3.1 The excitement-motivated firesetter includes the
ded to standardize terminology and formally classify the critical
                                                                        following subcategories.
characteristics of the perpetrators and the victims of the three
major violent crimes: murder, arson, and sexual assault.                (A) Thrill Seeking. Setting a fire provides this offender with
                                                                        feelings of excitement and power. The thrill-seeking firesetter
24.4.9.3.1.1 The CCM identifies analytical factors that have            is often a repetitive firesetter, who compulsively sets fires to
been identified as essential elements in order to classify the
                                                                        satisfy some psychological desire or need.
motive of an offense. These factors include information about
the victim, the crime scene, and the nature of the victim—              (B) Attention Seeking. These firesetters have a need to feel
offender exchange. Not all the information will be, or should           important, and they set fires in order to satisfy a psychological
be expected to be, present in every case. The intent is to              need.
provide the fire investigator with as much information as possi-
ble_                                                                    (C) Recognition. These firesetters are sometimes described as
                                                                        the hero or vanity firesetter. These firesetters often remain at
   A.9.3.1.2 The behaviors that may identify a possible motive,         the fire scene to-warn others, report the fire, or assist in fire-
and thus a possible suspect, apply whether the fire is the result       fighting efforts. They enjoy or may seek the recognition and
of a one-time occurrence or multiple occurrences, such as with          praise they receive for their efforts. Typical among these fireset-
a repetitive or serial firesetter. There are three classifications of   ters are security guards and fire fighters. Occasionally these
repetitive firesetting behavior. These are identified as serial         firesetters may even take responsibility for setting the fire.
arson, spree arson, and mass arson. The terminology used in
classifying a repetitive firesetter is similar to the terminology       (D) Sexual Gratification or Perversion. These are firesetters
used in murderers. Serial arson involves an offender who sets           who set fires as a means of sexual release. The firesetter in this
three or more fires, with a cooling-off period between the fires.       category is considered rare.
Spree arson involves an arsonist who sets three or more fires at        24.4.9.3.3.2     Attention-seeking, recognition, and sexual-
separate locations with no emotional cooling-off period                 gratification firesetters rarely attempt or intend to harm
between fires. Mass arson involves an offender who sets three or        people, but these firesetters may disregard the safety of inno-
more fires at the same site or location during a limited period         cent bystanders or occupants. However, the thrill-seeking
of time.                                                                offender, whose compulsion requires the inherent sense of
                                                                        satisfaction, will often set a big fire or a series of fires. Fires will


                                                                                                                                    2017 Edition
                    Case 3:19-cr-00143-JWD-RLB                     Document 145-1          01/16/23 Page 4 of 5
          921-262                                              FIRE AND EXPLOSION INVESTIGATIONS



          typically involve structures, but when vegetation is involved,         (C) Destruction of Records or Documents. This is a fire that
          these fires are also large.                                            targets records or documents. These fires may involve files igni-
                                                                                 ted still in their folders or an origin inside a file cabinet. It may
          24.4.9.3.4* Revenge.                                                   involve ordinary combustibles located in an exposure position
          24.4.9.3.4.1 The revenge-motivated firesetter retaliates for           to the files, such as a trash can moved adjacent to the files.
          some real or perceived injustice. An important aspect is that a        Potential suspects in these incidents involve those who have
          sense of injustice is perceived by the offender. The event or          some interest in the documents or records that were targeted.
          circumstance that is perceived may have occurred months or             24.4.9.3.6* Profit. Fires set for profit involve those set for
          years before the firesetting activity. A fire by the revenge-          material or monetary gain, either directly or indirectly. The
          motivated offender may be a well-planned, one-time event or            direct gain may come from insurance fraud, eliminating or
          may represent serial firesetting, with little or no pre-planning.      intimidating business competition, extortion, removing unwan-
          Serial offenders may direct their retaliation at individuals, insti-   ted structures to increase property values, or from escaping
          tutions, or society in general.                                        financial obligations.
          24.4.9.3.4.2 Subcategories of revenge firesetting include              24.4.9.3.6.1 The broad category of fraud is frequently identi-
          personal, societal, institutional, and group retaliation.              fied as an arson motive. However, fraud is classified as a subca-
          (A) Personal Retaliation. The triggering event for this motive         tegory in the profit motive category. Fraud-motivated fires may
          may be an argument, a fight, a personal affront, or any event          include commercial or residential properties. Commercial
          perceived by the offender to warrant retaliation. Favorite             fraud fires may be set or arranged by an owner to destroy old
          targets include the victim's vehicle, home, or personal posses-        or antiquated equipment, to destroy records to avoid taxes or
          sions. The specific location and the materials involved in the         audits, or for the purpose of obtaining insurance money. Fires
sr        fire may be a significant factor in identifying the offender.          may be set by a competitor to gain market advantage, or by
          Igniting clothing or other personal possessions is seen as a           agents of organized crime for purposes of extortion, protection
          more personal affront to the victim than simply setting a fire in      rackets, or intimidation. Residential fraud may include an
          a common area. The fire scene may also be vandalized. These            owner intending to defraud an insurance carrier, or a tenant
          fires may be a one-time event or an act of serial arson.               defrauding an owner or a welfare agency. Increasing taxes,
                                                                                 physical deterioration (and legally mandated repairs such as by
          (B) Societal Retaliation. This offender usually suffers from a         code enforcement agencies), vacancy or inability to rent, or
          feeling of inadequacy, loneliness, persecution, or abuse. The          statutory rent-control measures may be reasons for a landlord
          societal retaliation offender generally is not satisfied with a        to consider burning the structure.
          single fire or even a series of fires. Therefore, this serial
          offender is likely to set many more fires than other revenge-          24.4.9.3.6.2 There are several subcategories that further iden-
          motivated firesetters.                                                 tify fraud as a motive. These include fraud to collect insurance,
                                                                                 fraud to liquidate property, fraud to dissolve a business, and
          (C) Institutional Retaliation. This classification of offender         fraud to conceal a loss or liquidate inventory. The other catego-
          targets institutions such as religious, medical, governmental,         ries include employment, parcel/property clearance, and
          and educational institutions, or corporations. The firesetter          competition.
          may be a disgruntled employee, a former employee, a
          customer, or a patient.                                                24.4.9.3.7* Extremism. Extremist-motivated firesetting is
                                                                                 committed to further a social, political, or religious cause. Fires
          (D) Group Retaliation. Targets for group retaliation may be            have been used as a weapon of social protest since revolutions
          religious, racial, fraternal, or other groups, including gangs.        first began. Extremist firesetters may work in groups or as indi-
          Graffiti, symbols or markings, and other vandalism may accom-          viduals. Also, due to planning aspects and the selection of their
          pany the fire.                                                         targets, extremist firesetters generally have a great degree of
          24.4.9.3.5* Crime Concealment. This category involves fire-            organization, as reflected in their use of more elaborate igni-
          setting that is a secondary or a collateral criminal activity,         tion or incendiary devices. Subcategories of extremist fireset-
          perpetrated for the purpose of concealing the primary criminal         ting are terrorism and riot/civil disturbance.
          activity. In some cases, however, the fire may actually be part of     (A) Terrorism. The targets set by terrorists may appear to be
          the intended crime, such as revenge. Many people erroneously           at random; however, target locations are generally selected with
     ri   believe that a fire will destroy all physical evidence at the crime    some degree of political or economic significance. Political
          scene. Categories for crime concealment firesetting include            targets generally include government offices, newspapers,
          murder or burglary concealment and destruction of records or           universities, political party headquarters, and military or law
          documents.                                                             enforcement installations. Political terrorists may also target
          (A) Murder Concealment. This scenario is where a fire is set in        diverse properties such as animal research facilities or abortion
          an attempt to conceal the fact that a homicide has been                clinics. Economic targets may include business offices, distribu-
          committed, to destroy forensic evidence that may identify the          tion facilities of utility providers (e.g., atomic generation
          offender, or to conceal the identity of the victim.                    plants), banks, or companies thought to have an adverse
                                                                                 impact on the environment. Fires or explosions become a
          (B) Burglary Concealment. This is a fire that is set in an             means of creating confusion, fear, or anarchy. The terrorist
          attempt to conceal the fact that a burglary has occurred or to         may include fire as but one of a variety of weapons, along with
          destroy forensic evidence that may identify the offender.              explosives, used in furthering his or her goal.




          2017 Edition
        Case 3:19-cr-00143-JWD-RLB                       Document 145-1          01/16/23 Page 5 of 5
                                           FIRE AND EXPLOSION DEATHS AND INJURIES                                               921-263



(B) Riot/Civil Disturbance. Intentionally set fires during riots       Carbon monoxide can be eliminated from the body by breath-
or civil disturbances may be accompanied by vandalism and              ing fresh air or oxygen. In cases of high carboxyhemoglobin
looting. It is worth noting that all fires ignited during periods      levels, however, hyperbaric chambers are used to expedite the
of civil unrest may not be the result of the extremist firesetter      elimination of the toxicant from the body. The rate of elimina-
but may be set by others, such as owners, hoping that the fire is      tion of carbon monoxide from the body, therefore, is depend-
attributed to the extremist firesetter and the circumstances           ent on the oxygen concentration in the air and pressure. For
surrounding the civil disturbance.                                     examples, individuals treated with 100 percent oxygen will
                                                                       eliminate the toxicant more quickly than those breathing room
                                                                       air (21 percent oxygen).
      Chapter 25 Fire and Explosion Deaths and Injuries
                                                                       25.2.1.3* Because carboxyhemoglobin is so stable, it can be
25.1 General. Each year, thousands of people are injured or            readily measured in the blood of fire victims, even long after
die in fire- and explosion-related incidents. The investigation of     death. The average fatal level of blood CO is widely accepted as
fire- and explosion-related deaths and injuries require the            50 percent COHb. However, fire victims have died from CO
utilization of specialized skills that are not typically used during   exposure with a blood COHb level as low as 20 percent and as
routine fire investigations. These skills may include subsets of       high as 90 percent. Victims with less that 20 percent COHb
toxicology, pathology, and human behavior, among others. The           most likely died from other causes, such as a lack of oxygen,
data from the deaths and injuries of fire victims may provide          cardiac arrest, or thermal burns. In contrast, victims with COHb
information related to the nature and development of a fire.           concentrations of 40 percent or higher are likely to have died
25.2* Mechanisms of Death and Injury. The combustion                   from carbon monoxide alone or in combination with other
products arising from a fire are many, and their effects on            factors (such as age, alcohol, or a heart condition) or may
healthy individuals vary; however, none are without toxicologi-        simply have been incapacitated sufficiently by carbon monox-
cal effects. The inhalation of these products or contact with          ide poisoning to be unable to flee the fire.
skin or eyes can result in deleterious biological effects, such as     25.2.1.4* In assessing the significance of a victim's COHb level,
immediate irritation of the eyes and respiratory tract or              it should be noted that carbon monoxide is produced endoge-
systemic effects that influence other functions of the body.           nously in the body due to the break down of hemoglobin to
These combustion products include carbon monoxide, hydro-              bile pigments in the liver. CO can also enter the body from
gen cyanide, carbon dioxide, nitrogen oxides, halogen acids            environmental and habitual sources. A test of 3022 transfusion
(hydrochloric, hydrofluoric, and hydrobromic acids), acrolein,         blood samples for COHb levels found that 65 percent were
benzene, particulates (ash, soot), and aerosols (complex
                                                                       below 1.5 percent, 26.5 percent were between 1.5 percent and
organic molecules resulting from pyrolysis products).
                                                                       5 percent, 6.7 percent were between 5 percent and 10 percent,
25.2.1* Carbon Monoxide. Carbon monoxide (CO) is                       and 0.3 percent were in excess of 10 percent. A smoker may be
produced at some level in virtually every fire. All carbon-based       exposed to CO levels in the range of 400-500 ppm during the
fuels (e.g., wood, paper products, plastics) produce carbon            average 6 minute duration that it takes to smoke a cigarette. As
monoxide as a result of incomplete combustion. During burn-            such, smokers typically have a COHb range of 3 percent-
ing of organic fuels, CO is initially formed and then subse-           8 percent with an average baseline of 4 percent. Heavy smokers
quently oxidized to carbon dioxide (CO2). In underventilated           (greater than 2 packs per day) can reach levels as high as
fires or in fires where the initial products of combustion mix         15 percent. Nonsmokers average approximately 1 percent
with colder gases (such as in smoldering fires), conversion of         COHb in their blood.
CO to CO2 can be halted, and CO can become a major product
                                                                       25.2.1.5* The COHb level of a fire survivor begins to decrease
of combustion. In well-ventilated fires, the level of CO
                                                                       as soon as the person is removed from the fire environment.
produced may be as little as a few hundred parts per million
(i.e., 0.02 percent). However, in under ventilated, smoldering,        The rate at which CO is eliminated from the body is dependent
or post flashover fires, CO concentrations of 1 percent to             on the oxygen concentration of the air being breathed. The
                                                                       concentration of CO in the blood (COHb saturation) will be
10 percent (10,000 ppm to 100,000 ppm) can be produced.
Elevated CO concentrations can also develop during fire                decreased by one-half (COHb half-life), for example, reducing
suppression.                                                           COHb from 45 percent to 22 percent in 250 minutes to
                                                                       320 minutes at ambient O2 levels in air (21 percent). COHb
25.2.1.1* Carbon monoxide acts as a central nervous system             half-life is approximately 45 minutes to 90 minutes when a near
depressant. When inhaled, CO binds with hemoglobin in the              100 percent oxygen concentration is administered during
blood, creating carboxyhemoglobin (COHb). The affinity of              emergency medical treatment. Hyperbaric oxygen treatment
carbon monoxide for hemoglobin is approximately 240-250                can reduce COHb half-life to approximately 20-30 minutes.
times more than the affinity of oxygen for hemoglobin. There-
fore, the blood can accumulate dangerous levels of COHb from           25.2.1.6* In determining the significance of the victim's COHb
even low CO concentrations in the air.                                 level, the investigator should consider the effects of any medi-
                                                                       cal treatment that the victim received prior to succumbing to
25.2.1.2 Although carbon monoxide has asphyxiating effects,            their injuries. Individuals that received pulmonary resuscitation
it is more powerful than an asphyxiant. Carbon monoxide not            or were breathing and administered oxygen therapy prior to
only reduces the oxygen-carrying capacity of the blood, as it          death will have a lower COHb level than was present when they
binds with hemoglobin, it causes a shift in the dissociation           were removed from the fire environment. Therefore, knowl-
curve which affects the ability of the blood to release bound          edge of the time elapsed between removal from the fire and
oxygen to the tissues. CO delivered to the cells interferes with       death and the duration and type of oxygen therapy used, e.g.,
cellular respiration, causing incapacitation and death. The            non-rebreather, nasal cannula, hyperbaric chamber, prior to
binding of carbon monoxide to hemoglobin is reversible.                blood sampling are important data to gather.


                                                                                                                             2017 Edition
